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                            IJNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO .:1:19-CV-22281-BB

 SEY ED M .M O GH AN I,

         Plaintiff,                                            FILED BY                     D.C.
 VS.
                                                                    N0V 13 2218
 THE REPUBLIC OF ECUADO R,                                            ANGELA E.NOBLE
                                                                     ct..EAKu.s.oIsE c'rt
 THE PORT AUTHORITY OF GUAYAQUIL,                                    s.D,OF FLA.-MIAMI
 STOCK & FUND M ANAGERS OVERSEAS,INC.,
 LEON IDA S EFM IN PLA ZA V ERDU G A ,
 CARLOSAROSEMENA BAQUERIZO,
 LEON IDA S PLM A D IA S,
 SU PERINTEN D EN CIA D E CO M PAN IA S
 VALORES Y SEGURO S,
 VICTOR M ANUEL ANCHUNDIA PLACES,and
 CARLOS XAVIER CADENA ASEN CIO,

         Defendants.




             NO TICE OF VOLUNTARY DISM ISSAL PURSUANT TO F.R.C.P.41

 PursuanttoFederalRuleofCivilProcedure41(a)(1),Plaintiff,SEYED M .M OGHANI,acting
 PRO-SE,hereby gives notice that the above-styled action is voluntarily dism issed,without

 prejudiceagainsttheDefendants.
 D ate: ovem ber 12,2019.

  Resp tf ly ub itted,

         t            j.
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       YE M .M OGHANI.
  Plaintiff(Pro-Se)
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                               CERTICATE OF SERVICE

 ThePlaintiffhereby statesunderthepenaltyofperjurythatcopiesofthepresentdocumenthas
 been served viaU.S.M ailto a11partiesofrecord.

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        J ,
 S    D       .M O GH AN I
 Plaintiff(PRO-SE).




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